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UNITED STATES DISTRICT COURT 9918 JAN |G AM 9: 26
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

 

 

UNITED STATES OF AMERICA and
STATE OF FLORIDA

ex rel. , , 5
NEERAJ SHARMA, Civil Action No. (8*¢U-77-Or( - {| Dc |
GREGORY L. ORTEGA,
SANTOSH M. NAIR, and FILED UNDER SEAL
RENE CABEZA, PURSUANT TO 31 U.S.C. § 3730(b)(2)

Plaintiffs, JURY TRIAL DEMANDED

Vv. DO NOT PLACE IN PRESS BOX

DO NOT ENTER ON PACER
FLORIDA CANCER SPECIALISTS, P.L. and
ADVENTIST HEALTH SYSTEM SUNBELT

 

 

CORPORATION,
Defendants.
COMPLAINT
I Introduction
1. Florida Cancer Specialists, P.L. (“FCS”), and Adventist Health System Sunbelt

Healthcare Corporation (“Adventist”), through its Florida Hospital affiliates in Volusia and
Flagler Counties, have entered into arrangements in which each provides the other with various
forms of remuneration in exchange for patient referrals. These arrangements are intended to
induce, and have had the effect of inducing, the trading of referrals between Adventist and FCS.
The various remunerative schemes are not subject to any safe harbor provision of the Anti-
Kickback Statute.

2, In July of 2014, FCS and Adventist entered into an express, written agreement under

which FCS is provided with various exclusive roles at Adventist’s hospitals in Volusia and
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Flagler Counties—toles that ensure FCS receives an automatic and steady flow of patient
referrals. For instance, the agreement provides that FCS will be the sole provider of emergency
department call at those hospitals and that all unassigned emergency department patients will be
assigned to FCS for any medical oncology or hematology treatment they require. It further
provides that FCS physicians are the only hematologists or oncologists who will be granted
clinical privileges or medical staff membership at the Adventist Hospitals in Volusia and Flagler
Counties. These exclusive roles amount to a voucher for patient referrals, and are intended as an
inducement to FCS to direct radiation oncology, radiology/imaging, and surgical referrals to
Adventist’s hospitals.

3. The same express, written agreement provides both that Adventist would no longer
compete in the markets for outpatient hematology and medical oncology services in Volusia and
Flagler Counties, and that FCS would not enter and compete with Adventist in the outpatient
radiation oncology or radiology/imaging markets in Volusia and Flagler Counties. Because
competition between FCS and Adventist (as existed prior to their market allocation agreement)
would exert downward pricing pressure and upward pressure on the quality of care they provide,
FCS and Adventist instead opted to each confer on the other a guaranteed flow of referrals in

exchange for the elimination of competition.

 

' Prior to entering into its agreement with FCS, Adventist employed medical oncologists/hematologists in Volusia
and Flagler counties and competed with FCS in the outpatient oncology and hematology markets in Volusia and
Flagler counties. Also at the time the agreement was entered into, FCS competed in the radiology market in Volusia
County through its mobile imaging units, which made regular visits to FCS’s office in Lake Mary, and to which

FCS physicians in Volusia County sent their patients for radiology services. After entering into the agreement,
Adventist turned over its medical oncologists to be employed by Florida Cancer Specialists. Similarly, FCS has
stemmed the flow of referrals of its patients to its own mobile imaging units for radiology services. Instead, it directs
those patients to Adventist’s hospitals for such services—at the higher billing rates charged by the hospitals. Since
entering into its agreement, FCS has not entered the radiation oncology market in Volusia and Flagler counties,
although it has done so at other locations throughout the state during the same period of time.
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4. Adventist and FCS have further agreed to aggressively channel referrals to one another.
As described to Relators by Adventist-employed physicians, individuals in the administration of
the Adventist hospitals subject to the agreement routinely visit those Adventist-employed
physicians to discuss with them their referral patterns for hematology and oncology, and to
coerce them to direct hematology and oncology referrals to FCS physicians. Similarly, FCS
steers substantially all of its referrals to Adventist-employed physicians for radiation therapy,
radiology/imaging services, surgical services, lab services, and consultative services.

5. Adventist also facilitates a variety of exclusive marketing opportunities for FCS
physicians at which FCS, and only FCS, is afforded the opportunity to market itself to Adventist
physicians, or to independent community physicians. These events present FCS as the hospitals’
endorsed and preferred provider of hematology and medical oncology services, leveraging
Adventist’s Florida Hospital brand in order to elevate FCS’s own. Many of these events include
complimentary food and/or gifts for attendees. Adventist also actively markets FCS (and only
FCS) on its own websites.

6. Although the government recently declined intervention in a recently unsealed gui tam
action in the Fort Meyers division of the Middle District of Florida against FCS and 21* Century
Oncology (“21" Century”) in which the relators alleged a market allocation agreement between
FCS and 21* Century similar to that alleged here, significant differences exist here that weigh in
favor of intervention. First, numerous additional remunerative schemes, outlined above and
described in greater detail below, are present here. Second, the market allocation agreement
alleged in the other action was a “gentlemen’s agreement,” meaning its existence would first
have to be proven before it could constitute a kickback arrangement. Here, the agreement is in

writing, and its existence has been affirmed in the sworn testimony of Adventist and FCS

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executives. Third, Adventist’s and FCS’s concerted efforts to influence referral patterns mutually
to one another make clear that their overwhelming purpose was to secure patient referrals. The
trading of referrals for referrals, the provision of exclusive access to referral sources, agreeing
not to compete, and one provider’s promotion and marketing of another, to the exclusion of all
other providers, have each been held to plausibly constitute remuneration within the meaning of
the AKS. Each of those is present here, accompanied by clear intent to induce referrals.

II. Jurisdiction and Venue

7. This Court has jurisdiction over Relators’ claims under federal law pursuant to 31 U.S.C,
§§ 3730 and 3732(a), and 28 U.S.C. §§ 1331 and 1345, because Defendants reside, transact
business, and committed proscribed acts in this District. This Court has jurisdiction over
Relators’ claims under the Florida False Claims Act pursuant to 28 U.S.C. § 1367(a) and 31
U.S.C. § 3732(b) because those claims are so related to their federal claims that they form part of
the same case or controversy, and they arise from the same transactions and occurrences.

8. Venue lies in this District pursuant to 31 U.S.C. § 3732(a) and 28 U.S.C. § 1391(b)

and (c), as the place where Defendants reside and transact business, and where a substantial part
of the events or omissions giving rise to the claims occurred.

Ill. The Parties

2. Relators Neeraj Sharma, Gregory L. Ortega, Santosh M. Nair, and Rene Cabeza are
medical oncologists practicing in Volusia and Seminole Counties. They are partner physicians of
Mid-Florida Hematology & Oncology Centers, P.A., d/b/a Mid-Florida Cancer Centers, which
has offices in DeLand, Orange City, Sanford, and Oviedo. As competitors of both Adventist and
FCS, they have been harmed by certain conduct described herein and are involved in litigation
against Adventist and FCS pending in Circuit Court in Volusia County. Relators maintain

ongoing relationships with physicians employed by Adventist and practicing at Adventist

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hospitals in Volusia and Flagler Counties. These physicians often discuss with Relators practices
occurring at Adventist’s hospitals with respect to the treatment and referral of hematology and
oncology patients. In addition to these sources of information, Relators also have firsthand
knowledge of many of the facts detailed herein.

10. Defendant FCS is a medical group and a Florida Limited Liability Company
headquartered in Fort Myers, Florida, practicing both medical and radiation oncology and
hematology,’ with offices throughout the state of Florida. FCS is the largest independent medical
oncology practice group in the United States, with more than 200 physicians, 150 nurse
practitioners, and over 90 locations in its network. FCS treats approximately 60,000 new patients
each year and conducts over | million follow-up visits each year.

11. FCS has been characterized in the press and in litigation as a high-cost, high-utilization
provider. For instance, in 2014, the Wall Street Journal reported, based on an analysis of
Medicare billing data, that 28 of FCS’s doctors “were among the top 100 U.S. oncologists by
2012 Medicare payments for all services.” That is, 28 of the 100 highest-billing oncologists in
the country at the time, according to Medicare billing data, practiced at FCS. Further, the article
reported that the government paid more than $3 million each to 22 different FCS physicians. The
same article discusses that FCS physicians collectively were responsible for one sixth of
Medicare’s 2012 expenditures on the drug Procrit in the entire country, despite FDA warnings to
doctors as far back as 2002 to stop prescribing the drug liberally. Wall Street Journal, Cancer
Doctors Ring Up Big Medicare Bills for Tarnished Drug Procrit, June 19, 2014, available at
https://www.wsj.com/articles/cancer-doctors-ring-up-big-medicare-bills-for-tarnished-drug-

procrit-1403203821.

 

* Medical Oncology generally focuses on treatment of cancer with chemotherapy, targeted therapy, immunotherapy
and hormonal therapy; radiation oncology focuses on treatment of cancer with radiation.

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12. Similarly, relators in the above-referenced qui tam action in the Fort Meyers division of
the Middle District of Florida against FCS and 21* Century Oncology, allege that FCS, pursuant
to express instruction from FCS’s President William Harwin, engages in a program of systematic
overuse of the drug Feraheme, falsifying patient medical records in order to justify
administration of the drug. Also, Humana Medical Plan, Inc., terminated FCS’s provider contract
in 2014, and internal Humana emails state that the termination was “due to concerns over quality
of care, providing the right treatment protocols, and financial gaming of the system.” State of
Florida Office of Insurance Regulation, Target Market Conduct Final Examination Report,
available at https://www. floir.com/siteDocuments/HumanaMedicalPlan10302015.pdf, at 8.

13. Defendant Adventist Health System is a health care organization headquartered in
Altamonte Springs, Florida, that operates 45 hospitals in 10 states and also owns multiple
physician groups. Adventist is a recidivist violator of the False Claims Act, including in its
medical and radiation oncology service lines. It has settled False Claims Act cases alleging that it
paid bonuses to its physicians based on the number of tests and procedures they ordered; alleging
that it reused single-use vials of chemotherapy drugs; and alleging that it provided radiation
oncology services to patients without supervision by radiation oncologists or other similarly
qualified professionals. Department of Justice, Adventist Health System Agrees to Pay $115
Million to Settle False Claims Act Allegations, https://www.justice.gov/opa/pr/adventist-health-
system-agrees-pay-| | 5-million-settle-false-claims-act-allegations; Department of Justice,
Adventist to Pay More than $2 Million to Resolve False Claims Allegations,
https://www.justice.gov/usao-mdfl/pr/adventist-pay-more-2-million-resolve-false-claims-

allegations; Department of Justice, Adventist Health System to Pay $5.4 Million to Resolve
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False Claims Act Allegations, https://www.justice.gov/opa/pr/adventist-health-system-pay-54-
million-resolve-false-claims-act-allegations.

IV. Defendants’ Schemes

14. The federal Anti-Kickback Statute (“AKS”), 42 U.S.C. § 1320a—7b(b), prohibits paying
or receiving kickbacks to induce the referral of an individual for services paid under a federal
health care program. 42 U.S.C. § 1320a—7b(b)(1)-(2). In 2010, Congress amended the statute to
specify that “a claim that includes items or services resulting from a violation of this section
constitutes a false or fraudulent claim for purposes of [the False Claims Act].” 42 U.S.C. §
1320a—7b(g). Thus, claims for services tainted by kickbacks are false claims.

15. Relators’ claims under the False Claims Act are premised on underlying violations of the
AKS. A violation of the AKS occurs when a defendant: (1) knowingly and willfully, (2) “offers
or pays any remuneration,” directly or indirectly, (3) to induce a person to refer individuals to the
defendants for the furnishing of medical services, (4) paid for by Medicare. United States ex rel.
Mastej v. Health Mgmt. Assocs., Inc., 591 F. App’x 693, 705 (11th Cir. 2014) (citing 42 U.S.C. §
1320a—7b(b)(2)(A)). In a tandem provision, the Anti-Kickback Statute prohibits “solicit[ing] or
receiv[ing] any remuneration.” 42 U.S.C. § 1320a—7b(b)(1)(A).

A. Remuneration

16. | Adventist and FCS have each given the other remuneration worth many millions of
dollars as inducement to secure the referral of substantially all oncology patients in the allocated
markets in which they operate pursuant to their market allocation agreement. The primary forms
of remuneration exchanged are |) exclusive roles for FCS at Adventist hospitals, which amount
to vouchers for patient referrals, 2) withdrawal from and agreements not to compete outside of
allocated markets, 3) patient referrals themselves, which FCS and Adventist trade and steer

substantially all of to one another to the exclusion of other providers, and 4) free and discounted

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marketing provided by Adventist to FCS (and only FCS), as well as exclusive opportunities
provided to FCS by Adventist for FCS to market its physicians and its services to Adventist-
employed providers, including not only hospital employees but also physicians practicing in
outpatient settings.

17. The remuneration exchanged between Adventist and FCS has caused false statements to
be made for the purpose of getting false claims paid, in violation of 31 U.S.C. § 3729(a)(1)(B).
This conduct further makes Adventist and FCS liable as co-conspirators under 31 U.S.C.

§ 3729(a)(1)(C) because they agreed to violate the AKS and engaged in conduct to do so. As set
forth in detail below, the Government has paid these false claims and suffered substantial losses.

i. Adventist Grants FCS Exclusive Roles that Amount to a Voucher for Patient
Referrals

18. As described above, Adventist has granted FCS the exclusive right to obtain clinical
privileges in the fields of hematology and medical oncology at Adventist hospitals in Volusia
and Flagler Counties. Adventist has the only open-staff hospitals in all of Volusia and Flagler
Counties (Halifax being the only other hospital system and having a closed system in which only
Halifax-employed hematologists and medical oncologists can practice at its hospitals). As such,
medical staff membership and possession of clinical privileges at Adventist’s hospitals are a sine
qua non of attracting patient referrals for oncology, as oncology patients frequently require
emergency or inpatient admission, and physicians will not refer to oncologists who lack
admitting privileges at area hospitals.

19. Adventist has contracted with FCS to direct every unassigned emergency department
patient requiring hematology or medical oncology treatment to FCS. Adventist has also
contracted to turn over the hematology/oncology call schedule exclusively to FCS. When it

attempted to implement this term of its contract with FCS, the medical staff refused to approve
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the change, and instead the Adventist hospitals abolished the call schedule, opting to effectuate
FCS’s exclusive access to these patients through less formal methods. Substantially all
unassigned emergency department patients requiring hematology or oncology treatment are in
fact directed to FCS today.
20. The exclusive access and roles that Adventist provides to FCS at its hospitals is a form of
in-kind remuneration that Adventist pays to induce FCS to direct substantially all referrals for
radiation oncology, radiology/imaging, and surgical services to Adventist, which FCS does.
21. The provision of exclusive access to a source of new patients has been held to constitute
remuneration within the meaning of the AKS. In United States v. Health Alliance of Greater
Cincinnati, the relator alleged that the defendant hospital system assigned time to cardiologists in
the hospital’s heart station in exchange for cardiologists directing referrals to the hospital. No.
1:03-CV-00167, 2008 WL 5282139, at *1 (S.D. Ohio Dec. 18, 2008). The relator contended
“that a doctor in the heart station is being handed a stream of patients, which is like receiving a
voucher.” /d. at *6. The relator also alleged “that Defendants’ scheme favored Defendant Ohio
Heart and Vascular Center (“Ohio Heart’), which was the dominant cardiology group at TCH, by
ensuring a continuous flow of referrals between Ohio Heart and TCH, to the exclusion of other
hospitals and cardiology groups.” /d. at *1. The court held:

Having reviewed this matter, the Court finds no question that Plaintiff has

adequately pleaded Defendants set up a system whereby Ohio Heart physicians

received something of value, time in the heart station at TCH, in exchange for

referrals. ... Here, the government has pleaded facts showing that time in the

heart station was essentially money, and further, that Defendants’ system

excluded cardiologists from the benefit of heart station time when their referral

levels did not qualify them for such time. The Anti-Kickback Statute uses the

term “any remuneration,” which suggests an expansive reading of the form of any

kickback directly or indirectly, as opposed to a narrow reading that would exclude

the benefit of heart station time.

Id. at *7 (citations omitted, emphasis added).
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22. The facts are much the same here. Adventist and FCS agreed to a scheme under which
FCS would direct referrals to Adventist hospitals and, in exchange, Adventist would, as one of
several forms of remuneration, grant FCS exclusive access to various streams of patient referrals
controlled by Adventist. Relators were excluded from accessing these referral sources because
they would not agree to channel referrals for radiation oncology and radiology services (services
Relators provide and therefore need not refer elsewhere) to Adventist. Instead, Adventist has
constructed a closed loop of referral swapping with FCS, “ensuring a continuous flow of
referrals between [Adventist] and [FCS], to the exclusion of other hospitals and [oncology]
groups.” See id. at *1.
23. In Health Alliance of Greater Cincinnati, the defendants subsequently sought to certify
the district court’s order denying their motion to dismiss for interlocutory appeal based in part on
the district court’s determination that time in the heart station could constitute remuneration
under the AKS. 2009 WL 485501, at *3 (S.D. Ohio Feb. 26, 2009). The government argued “that
the trading of referrals for referrals and guaranteed work illustrates an ‘in kind’ exchange.” /d.
The court found insufficient grounds for difference of opinion as to this determination to warrant
interlocutory appeal:

Having reviewed this matter, the Court is unconvinced there is substantial ground

for difference of opinion as to its conclusion that time in the TCH heart station

could constitute “remuneration” under the Anti-Kickback Statute. The referral

system Defendants allegedly used, that clearly profited Defendants to the

exclusion of doctors shut out from work and opportunities to gain new patients,

does not merely present a question of “routine staffing decisions” or “the

opportunity to work.” The benefits were real and were guarded by Defendants, as

evidenced by their creation of the alleged shell entity, MDA, to continue

implementation of the alleged scheme. The Court finds well-taken the

government’s position that heart station panel time could constitute remuneration,

under the text of the Anti-Kickback Statute, all regulatory guidance, all relevant

case law, the statute’s legislative history, and common sense. Defendants’ cited

case authority to the contrary .. . do not create the requisite serious doubt on the
remuneration question so as to create a substantial ground for difference of

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opinion.
Id. at *4 (citations omitted).

ii. Adventist and FCS Each Withdrew from Competing with One Another, and
Agreed Not to Compete with One Another Across Service Lines

24. — Adventist previously employed medical oncologists/hematologists who provided services
in Volusia and Flagler Counties in competition with FCS. FCS previously competed with
Adventist in the radiology/imaging market through its mobile imaging units, which it brought to
its office in Lake Mary, and to which FCS physicians practicing in Volusia County directed
patients requiring radiology/imaging services. Further, FCS competes in the field of radiation
oncology at locations throughout the state outside Volusia and Flagler Counties.

pea Despite the fact that Adventist and FCS have offered these services in the past (or
presently offer them outside Volusia and Flagler Counties) and are capable of offering these
services within Volusia and Flagler Counties, they have agreed that FCS will not offer radiation
oncology or radiology/imaging services within Volusia and Flagler Counties for the duration of
their agreement and for 18 months thereafter, and that Adventist will not offer medical oncology
or hematology services within Volusia and Flagler Counties for the duration of their agreement
and for 18 months thereafter. Pursuant to this agreement, Adventist ceased competing in the
medical oncology and hematology areas and offered up the medical oncologists/hematologists it
previously employed in Volusia and Flagler Counties to FCS so that FCS could employ them.
Meanwhile, FCS has stemmed the flow of its referrals to FCS’s own mobile imaging units and
instead directs those patients to Adventist for radiology/imaging services, where those services
are billed at higher rates.

26. An agreement not to compete is unambiguously a thing of value and has been held to

plausibly constitute remuneration within the meaning of the AKS. United States v. Bozeman

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Health, No. CV 15-80-BU-SEH, 2017 WL 514205, at *5 (D. Mont. Feb. 7, 2017) (“The
Complaint also alleges Bozeman Health received remuneration by: ‘. . . [4] non-compete
agreements from the radiologists who . . . provide professional services at AMI,’ all of which are
claimed to be contrary to the AKS and to demonstrate the plausibility that at least one purpose of
the joint venture was to knowingly and willfully exchange patient referrals paid for by federal
health care programs for remuneration.”). Withdrawal from active competition is arguably of
even greater value than an agreement not to compete in the future and makes Adventist’s and
FCS’s conduct here even more egregiously remunerative than that in Bozeman Health. Further,
Adventist handed over its employed medical oncologists/hematologists to be employed by FCS.
The exclusive option to employ experienced hematologists/oncologists with established practices
and relationships with community physicians constitutes a thing of value for a
hematology/oncology practice.

27. Testimony of FCS’s own Dr. Victor Melgen establishes that FCS specifically sought to
eliminate the threat of competition from Adventist when negotiating the exclusive services
agreement. He has testified that the exclusive services agreement “was a way to prevent Florida
Hospital to bring oncologists to the area” and that “we were trying to prevent Florida Hospital to
bring new employed oncologists,” who of course would compete with FCS’s oncologists if they
practiced in Volusia and Flagler counties. Clearly, then, FCS valued and bargained for the
agreement not to compete that it ultimately traded for patient referrals.

28. Similarly, Adventist bargained for the reciprocal agreement of FCS not to compete with
respect to radiation oncology and imaging services. Former President and CEO of Adventist’s
Florida Hospitals in Volusia and Flagler counties, Daryl! Tol, has testified as follows regarding

language outlining FCS’s agreement not to compete:
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Q. And: “Florida Cancer Specialists would agree

to a moratorium of expansion of any diagnostic imaging
and/or the technical radiation oncology services within
the Volusia and Flagler County during the term of the
agreement.”

Was that something that was requested by

Florida Hospitals or is that something that was
suggested by Florida Cancer Specialists?

A. [...] I'm
sure we suggested that. I'm certain.

29. Thus, both FCS and Adventist not only valued the other’s agreement not to compete, they
actively bargained for it. This leaves no question that the agreements not to compete exchanged

between Adventist and FCS constitute remuneration within the meaning of the AKS.

iii. Adventist and FCS Aggressively Channel Referrals to One Another

30. Having conferred on each other the mutual benefit of no longer competing for the same
pool of patient referrals, Adventist aggressively channels referrals to FCS in exchange for
referrals channeled to Adventists from FCS, and vice versa. This referral trading is not simply
the natural consequence of their market allocation agreement, which by itself might tend to
increase the number of referrals exchanged between FCS and Adventist. Adventist and FCS
undertake active measures to ensure that the maximum possible referrals are directed to each
other.

SA. Adventist coerces its employed physicians to direct their patients to FCS. Indeed,
Adventist-employed physicians practicing in various specialties have detailed to Relators that
they are regularly visited by administrators for the purpose of discussing their referral patterns.
Specifically, these administrators discuss with them where these physicians are referring
hematology/oncology patients and inquire as to the reasons that individual referrals have been

made to hematologists/oncologists other than those practicing at FCS. These physicians have

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learned that the only answer that avoids further interrogation is “patient preference.” These
physicians have described their referral patterns as being “monitored.”

a2. Adventist-employed hospitalists, in particular, have informed Relators on multiple
occasions that they have been specifically instructed to direct all hematology and oncology
referrals to FCS. More broadly, but including with respect to oncology referrals, Adventist-
employed hospitalists have repeatedly raised concerns internally about being pressured by
hospital administration to refer patients to certain specialists, rather than on the basis of their
clinical judgment and the patients’ interests. The issue of being pressured to steer referrals was
recently raised by multiple members of the Medical Executive Committee for Adventist’s
Florida Hospital Fish Memorial, where a motion was made that the treating physician should
determine to which specialist a patient is referred. The Medical Executive Committee approved
that motion by unanimous vote, but the administration of the hospital expressed resistance to
enacting it.

33; Recently, as described to Relators by Adventist-employed physicians, those Adventist-
employed physicians practicing in non-hospital-based specialties have been instructed not to
specify a provider at all when making referrals—to specify only the specialty. As described to
Relators, these referrals are then routed to an Adventist administrator who selects the provider
who will receive the referral. Any oncology referrals made in this fashion in Volusia and Flagler
Counties are directed exclusively to FCS physicians unless there is no FCS physician capable of
providing the service in question. If the Adventist-employed physicians do specify a particular
physician in their referral, they will be interrogated as to their reason for doing so. As also

described to Relators by patients who were initially referred to FCS, even where those patients

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expressed their desire to be treated by Relators’ oncology group, they were routed to FCS
instead.

34. Adventist’s and FCS’s aggressive efforts have been effective in directing referrals to one
another that would otherwise be sent elsewhere. This despite the fact that, during the same period
of time in which FCS has greatly increased the number of radiation oncology referrals it directs
to Adventist’s hospitals in Volusia and Flagler Counties, there have been widespread concerns
among the physician community generally about the quality of Adventist’s radiation oncologists
practicing at Adventist’s Florida Hospital Fish Memorial, who at the time were /ocum tenens
(temporary) physicians. For instance, Relators’ staff were told by staff of Florida Hospital Fish
Memorial itself about such concerns regarding the quality of care provided by those locum
ftenens radiation oncologists, including concerns expressed by patients about the fact that they did
not have a consistent physician overseeing their treatment (due to the temporary nature of those
physicians’ status at the hospital). Similar concerns were expressed even by FCS’s own

Dr. Victor Melgen regarding consistency and quality of care provided by these /ocum tenens
radiation oncologists, and those concerns were conveyed to Relators’ staff by staff at Florida
Hospital Fish Memorial.

35: An oncologist practicing in a nearby county recently interviewed an employee of
Adventist’s Florida Hospital DeLand working in the radiation oncology program at that hospital.
As described by the interviewing oncologist to Relators, this Adventist employee detailed efforts
to “muscle every referral” for hematology and oncology to FCS.

36. Prior to their exclusive agreements, FCS directed a substantially smaller portion of its
referrals to Adventist physicians for radiation oncology, radiology/imaging, and surgical

services, and Adventist directed significantly fewer referrals for medical oncology and

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hematology to FCS. Relators have felt the impact of the referral-trading scheme on their own
practice, and they believe that other practices have as well. Notably, the physician community in
the DeLand and Orange City areas as a whole (excluding physicians employed by Adventist and
FCS) refers patients to Relators and to FCS in approximately equal proportions, with Mid-
Florida receiving perhaps closer to two-thirds of total referrals among this group. Moreover,

most referring physicians (again, excluding those employed by Adventist and FCS) split their
referrals between Mid-Florida and FCS—that is, very few refer on an exclusive or near-exclusive
basis. These facts illustrate that the volume and proportion of referrals that FCS and Adventist
direct to one another is not a naturally occurring phenomenon and is out of line with the practices
of community physicians operating outside the influence of a referral-trading scheme. Rather, the
high percentage of referrals that Adventist and FCS direct exclusively to one another reflects
their agreement to mutually trade patient referrals for patient referrals.

37. As noted above, in Health Alliance of Greater Cincinnati, where the government argued
“that the trading of referrals for referrals and guaranteed work illustrates an ‘in kind’ exchange”
under the AKS, the court found the government’s position “well-taken . . . under the text of the
Anti—Kickback Statute, all regulatory guidance, all relevant case law, the statute's legislative
history, and common sense.” /d. at *4. The structure of the arrangements between Adventist and
FCS here is highly similar, only with additional remunerative schemes between the parties, as
well as documentary evidence of intent to use these schemes as inducements to refer patients.

iv. Adventist Offers FCS (and only FCS) Free Marketing

38. Adventist confers on FCS a variety of free marketing and promotional benefits. Adventist
provides FCS exclusive access to Adventist-employed physicians through regular group and
individual meetings with those physicians. These meetings provide FCS (and only FCS) the

opportunity to market itself to Adventist physicians (who comprise a significant portion of the

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local referral base). To be clear, these are events at which FCS is given the exclusive opportunity
to engage in targeted, focused marketing of itself, its physicians, and its services to Adventist-
employed physicians.

39. Similarly, Adventist organizes and puts on community events at which FCS is given the
exclusive opportunity to market itself. Adventist markets these events to Adventist and
community physicians, and thereby also markets FCS and the FCS physicians, both of which are
frequently promoted in the marketing materials for these events. These include events such as
Survivors Day Celebration, which are attended by hundreds of cancer survivors (many of whom
require ongoing monitoring and are therefore prospective oncology patients) and other members
of the community. Adventist also conducts open house events at its Florida Hospital campuses at
which complimentary food and gifts are provided to all attendees. FCS (and only FCS) is given
the opportunity to market itself at these events. Further, Adventist provides fee continuing
education courses to its employed physicians and mid-level practitioners. Again, FCS physicians,
and only FCS physicians, are given a platform at continuing education events, participating in
panel discussions and in other settings that lend an aura of expertise and Adventist’s
endorsement to FCS. Further it is not clear to what degree, if any, the costs of producing these
events is shared between Adventist and FCS, including costs of the complimentary gifts and food
provided to attendees.

AO. A hospital’s promotion and marketing of a particular provider group may constitute
remuneration under the AKS. United States v. Millennium Radiology, Inc., No. 1:11CV825,
2014 WL 4908275, at *6 (S.D. Ohio Sept. 30, 2014). Further, providing free marketing is
necessarily providing something of value at below market rates. /d. at *5. (“In this instance,

Hallman has alleged that MRI provided .. . marketing services to Mercy for free. As this Court
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observed in McDonough, providing these services for free would necessarily be providing them
at below market rates and below cost.”). As in Millennium Radiology, Adventist has used its own
facilities, employees, and brand in order to promote and market FCS.

41. | Adventist and FCS are co-branded on billboards throughout Volusia and Flagler
Counties, and it is not clear to what extent the costs of such billboard advertising are split
between Adventist and FCS. Further, Adventist, as a not-for-profit organization, has access to
lower billboard advertising rates. As such, to the extent that FCS does share the cost of any co-
branded billboard space, any passing along of Adventist’s discounted cost constitutes
remuneration paid by Adventist to FCS.

42. In addition, Adventist provides free marketing to FCS (and only FCS) on the websites for
its hospitals in Volusia and Flagler Counties that are subject to the agreement between Adventist
and FCS. See, e.g., https://www.floridahospital.com/deland/cancer/florida-cancer-specialists;
https://www. floridahospitalcancer.org/treatments/medical-oncology;
https://www.floridahospitalcancer.org/why-us/locations.

B. Intent to Induce Referrals

43. | The AKS prohibits payment of remuneration that is intended to induce patient referrals.
However, a relator need only show that one purpose of the remuneration was to induce such
referrals. United States ex rel. Ruscher v. Omnicare, Inc., 663 F. App’x 368, 374 (Sth Cir. 2016);
United States ex rel. Armfield v. Gills, No. 8:07-CV-2374-T-27TBM, 2012 WL 12918277, at *4
(M.D. Fla. Oct. 18, 2012). Further, “under the anti-kickback statute, neither a legitimate business
purpose for the arrangement, nor a fair market value payment, will legitimize a payment if there
is also an illegal purpose (i.e., inducing Federal health care program business).” Department of
Health and Human Services Office of Inspector General, Supplemental Compliance Program

Guidance for Hospitals, 70 Fed. Reg. 4858, 4864, 2005 WL 192293 (January 31, 2005).
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44. Deposition testimony of Adventist and FCS employees establishes the remunerative
schemes outlined above were intended to induce referrals. Danielle Johnson, Chief Operating
Officer at Adventist’s Florida Hospital Fish Memorial, testified as follows:

Q. Has Dr. Melgen [of FCS] ever voiced any complaints about the number of

patients that the exclusive contract has generated referrals to Florida Cancer

Specialists?

[...]

Generally, has he made any comments to you at all about that subject?

A. I think he would -- | don't know. I think it’s best you probably ask him.

There’s been sort of a -- I don’t know -- a general hope that he would be busier,

but it is what it is, I guess.

Q. When you say a general hope that Dr. Melgen would be busier, whose hope is
that?

A. Well, it’s not mine. It's Dr. Melgen’s.
45, This “general hope” that FCS would receive more patient referrals evidences that
inducing referrals was at least one purpose of the various forms of remuneration FCS provided
Adventist. And of course, referrals to FCS also result in referrals to Adventist, since medical
oncologists are by far the largest source of referrals for radiation oncology and oncology-related
imaging services, and since FCS has agreed not to compete with Adventist in the radiation
oncology and radiology/imaging markets and instead to direct all of its patients requiring those
services to Adventist. Referrals to FCS have also resulted in increased referrals to Adventist for a
range of other procedures, labs, and consultative services that FCS generates.
46, That Adventist undertook concerted efforts to influence the referral patterns of its
employed physicians immediately following the execution of the exclusive agreements between

FCS and Adventist, as described to Relators by Adventist-employed physicians themselves, also

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evidences that the purpose of paying the various forms of remuneration outlined above was
inextricably tied to the generation of patient referrals between Adventist and FCS.

C. Defendants’ Remunerative Schemes, and the Resulting Submission of False Claims,
Are Knowing and Willful

47. The FCA imposes liability on any person who knowingly presents or causes to be

presented to the federal government a false claim. 31 U.S.C.A. § 3729(a). The FCA defines

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“knowingly” to include “actual knowledge,” “deliberate ignorance,” or “reckless disregard.” 31
U.S.C.A. § 3729(b). Proof of specific intent to defraud is not required. Bingham v. BayCare
Health Sys., No. 8:14-CV-73-T-23JSS, 2016 WL 8739056, at *2 (M.D. Fla. Dec. 16,

2016), report and recommendation adopted, No. 8:14-CV-73-T-23JSS, 2017 WL 1386838
(M.D. Fla. Apr. 18, 2017) (citing 31 U.S.C. § 3729(b)(1)(B)). “Congress added the ‘reckless
disregard’ provision to the False Claims Act in 1986... to ensure that ‘knowingly’ captured the
‘ostrich’ type situation where an individual has ‘buried his head in the sand’ and failed to make
simple inquiries which would alert him that false claims are being submitted.” Urguilla-Diaz v.
Kaplan Univ., 780 F.3d 1039, 1058 (11th Cir. 2015) (quoting S. Rep. 99-345, at 21, reprinted
in 1986 U.S.C.C.A.N. 5266, 5286) (quotations omitted). “Reckless disregard” for purposes of the
FCA amounts to gross negligence or “an extreme version or ordinary negligence.” /d.

48. The discussion above makes clear that the overarching purpose of the various
arrangements between Adventist and FCS was to furnish in-kind remuneration to one another in
order to induce a mutual agreement to direct substantially all hematology and oncology referrals
to one another. There can be no question that the false claims submitted by Adventist and FCS
were submitted with, at a minimum, reckless disregard for their truth or falsity.

49. The AKS prohibits knowing and willful payment of remuneration for the purpose of

inducing patient referrals. The term “willfully” for purposes of the AKS means that an “act was

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committed voluntarily and purposely, with the specific intent to do something the law forbids,
that is with a bad purpose, either to disobey or disregard the law.” United States v. Starks, 157
F.3d 833, 838 (11th Cir.1998) (internal quotation marks omitted). It is not necessary to prove
that a defendant acted with specific intent to violate the Anti-Kickback Statute. /d. at 838-39 &
n. 8. Rather, it is simply necessary to prove that the defendant acted with the intent to do
something the law forbids—even if he is not aware of the specific law his conduct may violate.
Id.; see also McNutt ex rel. U.S. v. Haleyville Med. Supplies, Inc., 423 F.3d 1256, 1260 (11th
Cir. 2005). The remuneration paid between Adventist and FCS was not paid by accident, and it
was exchanged for the purpose of inducing referrals, which is something the AKS forbids. As
such, the AKS violations of Adventist and FCS were willful.

D. The Remunerative Schemes Also Violate the Stark Law

50. The analysis outlined above as to the AKS is substantially the same for purposes of the
Stark Law, 42 U.S.C. § 1395nn. “Under both the Anti-Kickback Statute and Stark, a medical
provider cannot enter into a relationship with a referring physician that involves remuneration—
i.é., any payment or other benefit.” U.S. ex rel. Osheroffv. Tenet Healthcare Corp., No. 09-
22253-CIV, 2013 WL 1289260, at *7 (S.D. Fla. Mar. 27, 2013). Because, as outlined above, the
remuneration exchanged between Adventist and FCS is not merely intended to induce referrals
but actually has induced referrals, the referrals exchanged between Adventist and FCS are made
by physicians to entities providing designated health services (“DHS”) where a compensation
arrangement (i.e., remuneration) exists between the referring physicians and the entities to whom
those patients were referred. For instance, the exclusive right to provide services at a hospital

constitutes remuneration and therefore establishes a compensation arrangement within the

 

* Here, the designated health services provided by Adventist and FCS pursuant to referrals to each other include
inpatient and outpatient hospital services, laboratory services, radiology services, and radiation therapy services.

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meaning of the Stark Law. U.S. ex rel. Kosenske v. Carlisle HMA, Inc., 554 F.3d 88, 96 (3d Cir.
2009). Unlike the AKS, the Stark Law does not contain a scienter requirement—the referral of
patients to a DHS entity with which the physician has a financial relationship (defined to include
any remuneration) is automatically a violation of the Stark Law unless a safe harbor applies.
Osheroff, 2013 WL 1289260, at *7, *9.

EK. No Safe Harbor Applies

i. The Remuneration Paid Takes into Account the Value of Referrals
Generated

51. | The Department of Health and Human Services has promulgated regulations establishing
safe harbors for certain arrangements between healthcare providers which remove them from the
scope of the AKS and the Stark Law. See 42 U.S.C. § 1320a—7b(b)(3)(E). No such safe harbor is
applicable here as to any of the arrangements outlined above, as any safe harbor that might be
invoked requires that the arrangement not take into account the volume or value of any referrals
generated between the parties. See 42 C.F.R. § 411.357. As evidenced by the discussion above,
each remunerative scheme outlined herein takes into account the value of referrals to be
generated as a result of that remunerative scheme in that the clear intent of both Adventist and
FCS was to induce referrals through each of the various forms of remuneration paid from one to
the other. The remuneration they have exchanged would not have been offered or exchanged
absent a commitment to direct patient referrals in this manner and a structure tending to enforce
that commitment. Because the various forms of remuneration were conditioned on an agreement
to generate referrals, that remuneration necessarily takes into account the value of those referrals,

and no safe harbor is available.

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ii. The Remuneration Paid Does not Reflect Fair Market Value
52. | The requirement contained in many AKS and Stark Law safe harbors that the
remuneration reflect fair market value is also not satisfied here.” No fair market valuation was
conducted as to any remuneration exchanged under the exclusive services and medical director
agreements. Nor does that remuneration in fact reflect fair market value. It is facially apparent
that trading, for instance, an agreement not to compete in the radiation oncology market for the
exclusive right to credential oncologists and hematologists at Adventist hospitals cannot be
considered a “fair market value” exchange, particularly where no determination of whether it
would be was attempted by either Adventist or FCS. The failure to investigate the question of
fair market value also further establishes the reckless disregard for the truth or falsity of the
claims Adventist and FCS have submitted claims to Medicare and Medicaid since their
remunerative schemes were put in place.

iii. Multiple Forms of Compensation Are Not Set Out in Writing

53. Further, the Stark Law safe harbor for fair market value compensation, 42 C.F.R.

§ 411.357(L), requires that the compensation be set out in writing in order to be eligible for the
safe harbor. Here, at least two forms of compensation are not set out in writing—the trading of
outpatient referrals between Adventist and FCS, which constitutes compensation paid by each to
the other, and the free (and exclusive) marketing that Adventist provides to FCS, which is
compensation paid by Adventist to FCS. As such, the Stark Law’s safe harbor for fair market

value compensation is not available for these arrangements.

 

“The fair market value requirement applies equally to intangible remuneration, including the forms of remuneration
outlined above. See Kosenske, 554 F.3d at 97-98 (holding that exclusive right to provide services at hospital is
subject to fair market value requirement for purposes of Stark Law’s personal services agreement safe harbor).

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iv. The Arrangements Are Not Commercially Reasonable

54. The additional requirement of many AKS and Stark Law safe harbors that the
arrangement be commercially reasonable is also not satisfied here. In order to satisfy this
requirement, the arrangement must be a sensible, prudent business arrangement, from the
perspective of the parties involved, even in the absence of potential referrals. The remunerative
schemes outlined above serve no arguable purpose other than effectuating the trading of
referrals. As Adventist and FCS executives have testified, oncology is predominantly an
outpatient-based specialty, and the referrals traded between Adventist and FCS are
predominantly outpatient referrals. Yet the scope of the exclusive services agreement is limited
to the practice of oncology in an inpatient setting. Further, even with respect to the inpatient
practice of oncology at Adventist’s Volusia and Flagler hospitals, there is no indication that the
closure of the medical staff to non-FCS oncologists was in any way necessary or beneficial to
any business purpose. Adventist’s executives have testified that the physicians practicing with
Relators’ oncology group are equally skilled oncologists and that quality of care was not in any
way a basis for granting FCS the exclusive right to credential physicians to practice at the
hospitals. Nor was there any problem with call coverage or any other aspect of Relators’ practice
at the hospitals in question. Indeed, limiting the number of physicians who may be consulted
increases the likelihood that there will be challenges covering call.

55. The true value of the exclusive services agreement between Adventist and FCS lies in the
referrals that Adventist and FCS generate for one another, specifically for the Designated Health
Services that will be rendered as a result of those referrals. In the absence of these referrals, the
exclusive services agreement would consist, at bottom, of agreements not to compete and the

closure of the medical staff at Adventist’s hospitals in Volusia and Flagler to all non-FCS

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hematologists and medical oncologists. These are not legitimate business purposes that could
support a finding of commercial reasonableness.

F. Damages

56.  “[T]he amount of the Government’s damages resulting from the payment of false claims
tainted by a kickback arrangement equals the full amount that Medicare paid on such claims.”
U.S. ex rel. Freedman v. Suarez-Hoyos, No. 8:04-CV-933-T-24 EAJ, 2012 WL 4344199, at *4
(M.D. Fla. Sept. 21, 2012); U.S. v. Rogan, 517 F.3d 449 (7th Cir. 2008). Here, the government’s
damages are tremendous. For instance, when a patient is referred from the emergency
department of an Adventist Hospital, or from a primary care or specialist physician employed by
Adventist (or an administrator doling out referrals for which those employed physicians have
been instructed not to specify anything other than a specialty) to an FCS physician, all of the
claims billed by FCS for services provided to that patient are tainted by kickbacks and, therefore,
are false claims. Those claims, in the aggregate, include claims for chemotherapy drugs and
administration, lab work, pathology, and a variety of other downstream services. When FCS then
directs those patients back to Adventist for surgery, for radiation oncology or radiology/imaging
services, or for the various non-oncology-related labs, consultative services, and procedures for
which FCS generates referrals to Adventist, those claims also are tainted by kickbacks and,
therefore, false.

57. The entire amounts of these claims are the measure of the government’s damages as to
those claims. Of course, those damages are subject to trebling, and each violation of the AKS is
additionally subject to significant statutory penalties. Further, a high proportion of oncology
patients are Medicare enrollees. Almost half of Relators’ patients are insured by Medicare, and it

could reasonably be expected that half of the claims submitted by Adventist and FCS for

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oncology-related care are Medicare claims. The remunerative schemes outlined above have also
resulted in submission of many false Medicaid claims.

V. Counts

COUNT I: FALSE OR FRAUDULENT CLAIMS
31 U.S.C. § 3729(a)(1)(A), (B), and (C)

58. Relators repeat and reallege the prior paragraphs as if fully set forth herein.

59. Relators bring these claims on behalf of the United States, for treble damages and
penalties under the False Claims Act, 31 U.S.C. §§ 3729-3733, against Defendants, for
knowingly causing to be presented false claims to government healthcare programs.

60. Asaresult of acts described above, Defendants knowingly presented, or caused to be
presented, false and fraudulent claims for services that were not eligible for reimbursement for
payment or approval to the United States in violation of 31 U.S.C. § 3729(a)(1)(A).

61. Further, as a result of the acts described above, Defendants knowingly made, used, or
caused to be made or used, false records or false statements material to the foregoing false or
fraudulent claims to get these false or fraudulent claims paid and approved by the United States,
in violation of 31 U.S.C. § 3729(a)(1)(B).

62. Finally, by virtue of the acts described above, Defendants knowingly conspired with each
other to present or cause to be presented to the United States false or fraudulent claims for
payment or approval; to make, use, or cause to be made or used, a false record or statement
material to a false or fraudulent claim in violation of 31 U.S.C. § 3729(a)(1)(C).

63. As a direct and proximate result of Defendants’ violations, the United States has
sustained damages in a substantial amount to be determined at trial, and is entitled to treble

damages plus a civil penalty for each violation.

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COUNT II: FLORIDA FALSE CLAIMS ACT
Fla. Stat. Ann. §§ 68.081—68.092

64. — Relator re-alleges and incorporates the allegations in the preceding paragraphs as if set
forth fully herein.

65. Defendants violated the Florida False Claims Act by engaging in the fraudulent and
illegal practices described herein, including knowingly causing false claims to be presented to
the State of Florida as described herein.

66. As a result of the misconduct alleged herein, Defendants knowingly made, used, or
caused to be made or used, a false record or statement to get a false or fraudulent claim paid or
approved by the State of Florida.

67. The State of Florida, unaware of the false or fraudulent nature of these claims, paid such
claims which the State of Florida would not otherwise have paid.

68. By reason of these payments, the State of Florida has been damaged, and continues to be
damaged, in a substantial amount.

VI. ‘Prayer for Relief

WHEREFORE, Relators, on behalf of themselves, the United States, and the State of
Florida, pray:

Il. That the Court enter judgment against Defendants in an amount equal to three
times the amount of damages the United States has sustained because of Defendants’ actions,
plus a civil penalty for each violation, costs, and post-judgment interest;

II. That the Court enter judgment against Defendants in an amount equal to three
times the amount of damages the State of Florida has sustained because of Defendants’ actions,

plus a civil penalty for each violation, costs, and post-judgment interest;

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III. That Relators be awarded an amount that the Court decides is reasonable for
collecting the civil penalty and damages, as provided under the False Claims Act and the Florida

False Claims Act;

IV. | That Relators be awarded all costs and expenses incurred, including reasonable
attorneys’ fees;

V. That the Court order such other relief as is appropriate.

VU. Demand for Jury Trial

Relators demand a trial by jury.

Dated: January __, 2018 Respectfully submitted,

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